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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

CAR-FRESHNER CORPORATION and JULIUS SÄMANN
LTD.,

                          Plaintiffs,                 Civil Action No.:
                                                      5:17-cv-171 (TJM/ATB)
                 v.

AMERICAN COVERS, LLC f/k/a AMERICAN COVERS,
INC. d/b/a HANDSTANDS, ENERGIZER HOLDINGS, INC.,
and ENERGIZER BRANDS, LLC,

                          Defendants.




                           PLAINTIFFS CAR-FRESHNER
                      CORPORATION AND JULIUS SÄMANN
                        LTD.’S MEMORANDUM OF LAW IN
                         SUPPORT OF THEIR MOTION TO
                      PRECLUDE THE EXPERT REPORT AND
                        TESTIMONY OF JOHN G. PLUMPE




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                                PRELIMINARY STATEMENT

       Plaintiffs CAR-FRESHNER Corporation (“CFC”) and Julius Sämann Ltd. (“JSL”) assert in

this action, inter alia, that Defendants American Covers, LLC d/b/a Handstands (“Handstands”),

Energizer Holdings, Inc., and Energizer Brands, LLC (collectively, “Defendants” or

“Energizer”) have infringed Plaintiffs’ federally-registered BLACK ICE and BAYSIDE

BREEZE trademarks with the sale of automotive air freshener products utilizing the names

“MIDNIGHT BLACK ICE STORM” (the “Infringing BLACK ICE Products”) and

“BOARDWALK BREEZE” (the “Infringing BOARDWALK BREEZE Products”) (collectively,

the “Infringing Products”). Pursuant to 15 U.S.C. § 1117(a), Plaintiffs seek to recover, inter alia,

the profits Defendants made from their sales of the Infringing Products.

       Defendants have retained John G. Plumpe to opine on their profits. Defendants have

admitted that their net revenues from the sales of the Infringing Products in the United States

have totaled over $1,290,000. They have proffered Mr. Plumpe to opine that their profits from

those sales were little more than $175,000. In his initial report, Plumpe further appeared to opine

that just $84,400 of those profits should be “apportioned” to Defendants’ use of the name

MIDNIGHT BLACK ICE STORM, although he equivocated on that point at his deposition. (He

has not opined on what “apportionment” of Defendants’ profits should be assigned to their use of

the name BOARDWALK BREEZE.)

       Plumpe’s opinions are not based on credible information. They are not substantiated by

even the most basic records – e.g., invoices – which Energizer should possess (and in many cases

has admitted it possesses), but which Energizer has never produced and which Plumpe

apparently has never seen. Plumpe’s opinions do little more than repackage Defendants’ own

self-serving and unreliable assertions about their alleged costs, under the guise of expert

testimony. This repackaging is impermissible under Federal Rule of Evidence 702 and the
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principles espoused by the Supreme Court in Daubert and Kumho Tire. Plumpe offers no

analyses or conclusions that meet the tests for admissible expert proof. Plaintiffs respectfully

request the Court grant their motion to preclude Plumpe’s expert report and testimony.

                                          ARGUMENT

        Rule 702 of the Federal Rules of Evidence provides:

               A witness who is qualified as an expert by knowledge, skill,
               experience, training, or education may testify in the form of an
               opinion or otherwise if:

               (a) the expert’s scientific, technical, or other specialized
               knowledge will help the trier of fact to understand the evidence or
               to determine a fact in issue;

               (b) the testimony is based on sufficient facts or data;

               (c) the testimony is the product of reliable principles and methods;
               and

               (d) the expert has reliably applied the principles and methods to the
               facts of the case.

The proponents of proffered expert testimony have the burden of establishing admissibility.

E.g., Akin v. Hankook Tire Am. Corp., 2004 U.S. Dist. LEXIS 31590, *7 (N.D.N.Y. May 19,

2004) (McAvoy, J.) (collecting cases) (granting motion to preclude expert).

       The Supreme Court has held that the “Federal Rules of Evidence ‘assign to the trial judge

the task of ensuring that an expert’s testimony both rests on a reliable foundation and is relevant

to the task at hand,’” Zaremba v. GMC, 360 F.3d 355, 358 (2d Cir. 2004) (quoting Daubert v.

Merrell Dow Pharms., Inc., 509 U.S. 579, 597 (1993)), requiring that the court carry out a

“gatekeeping” function, ensuring an expert “‘employs in the courtroom the same level of

intellectual rigor that characterizes the practice of an expert in the relevant field’” id. (quoting

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999)). Accordingly, it “is within the

discretion of the trial court to determine whether expert testimony will assist the trier of fact.”

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E.g., Pfeiffer v. Lewis Co., 308 F. Supp. 2d 88, 96 (N.D.N.Y. 2004) (McAvoy, J.); see also

Member Servs. v. Sec. Mut. Life Ins. Co., 2010 U.S. Dist. LEXIS 103776, *71 (N.D.N.Y. Sept.

30, 2010) (McAvoy, J.). “[P]roffered ‘expert testimony should be excluded if it is speculative or

conjectural,’” and the admission “‘of expert testimony based on speculative assumptions is an

abuse of discretion.’” Major League Baseball Props., Inc. v. Salvino, Inc., 542 F.3d 290, 311

(2d Cir. 2008). “An expert’s conclusory opinions are similarly inappropriate.” Id. at 311.

                                            POINT I

                 PLUMPE’S TESTIMONY REGARDING ENERGIZER’S
                         COSTS SHOULD BE EXCLUDED

A.     Energizer Has the Burden of Proving its Costs

       15 U.S.C. § 1117(a) “allocates the initial burden of proving gross sales to the trademark

plaintiff, and the subsequent burden of proving costs to the infringing defendant.” Am. Honda

Motor Co. v. Two Wheel Corp., 918 F.2d 1060, 1063 (2d Cir. 1990) (citations omitted). “This

sequence of proof thus places the burden of proving costs on the party with the superior access to

such information, namely the infringing defendant.” Id. Energizer has admitted its net revenues

for the Infringing BLACK ICE Products and the Infringing BOARDWALK BREEZE Products

were $1,215,539 and $75,687, respectively. Lampman Depo Tr. at 82:11-19, 85:16-25, 88:10-

13, 165:22-166:11; Lampman Depo. Exhs. 10 & 20.1 This satisfies Plaintiffs’ burden of proving

Energizer’s sales. The burden of proving Defendants’ costs, then, shifts to Energizer.

B.     An Infringing Defendant’s Costs Must Be Proven with Reliable Records

       As will be discussed infra, the unaudited, unsubstantiated, and ill-defined “data” that

Plumpe has accepted from Energizer as the basis for his “opinions” falls far short of the type of

evidence required to prove an infringing defendant’s costs. “[A]n infringing defendant may not
1
  The deposition testimony and exhibits cited in this Memorandum are attached to the
accompanying Declaration of Louis Orbach (“Orbach Declaration”) unless otherwise noted.

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prove deductible costs by records showing only a vague, undifferentiated category of expenses.”

Coty Inc. v. Excell Brands, LLC, 277 F. Supp. 3d 425, 467 (S.D.N.Y. 2017) (citations and

internal quotations omitted); see, e.g., Audemars Piguet Holding S.A. v. Swiss Watch Int’l, Inc.,

46 F. Supp. 3d 225, 292 (S.D.N.Y. 2014) (finding defendants did not prove direct costs for

certain operating expenses where “besides asserting these costs [they] provided neither

documentation nor analysis of how they were calculated, besides . . . summaries.”); Fendi Adele

S.R.L. v. Burlington Coat Factory Warehouse Corp., 2010 U.S. Dist. LEXIS 144425, *27

(S.D.N.Y. August 9, 2010) (recommending certain store expenses claimed as deductions by

defendants be disallowed for lacking documentation and failing to justify a formula for

calculating profits attributable to infringing activities); see also Int’l Consulting Servs. v. Cheap

Tickets, Inc., 2007 U.S. Dist. LEXIS 71689, *13-14 (E.D.N.Y. Sept. 12, 2007).

C.     Plumpe’s Expert Report and Testimony is Inadmissible Because It Relies Solely on
       Energizer’s Self-Serving and Unreliable Data

       The only basis for Plumpe’s conclusions is unreliable, self-serving data provided to him

by Defendants. Plumpe merely repackages and repeats the information set forth therein, with no

way to confirm its accuracy. Where, as here, the “data and methodology on which [an expert]

relies ‘are simply inadequate to support the conclusions reached’ . . . his expert testimony is

unreliable and irrelevant, and Daubert and Rule 702 mandate its exclusion.” Ellis v. Appleton

Papers, Inc., 2006 U.S. Dist. LEXIS 7164, *29-30 (N.D.N.Y. Feb. 14, 2006) (citing Amorgianos

v. Nat’l R.R. Passenger Corp., 303 F.3d 256, 265 (2d Cir. 2002)).

       1.      Plumpe’s Opinion of Energizer’s COGS is Based on Unreliable Data

       Plumpe opines that Energizer’s cost of goods sold (“COGS”) was $844,215 for the

Infringing Products. Plumpe Report, ¶ 49. According to Plumpe’s report, Energizer’s COGS for

the Infringing Products are made up of two sub-components: “Standard Cost” and “Freight &


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Warehousing (F&W) Cost.” Plumpe Report, Tabs 6a & 6b; see also Plumpe Depo. Tr. at 174:6-

15. Each is discussed below.

               a.     Plumpe Simply Mimics Energizer’s Own Unreliable “Standard Cost”
                      Calculation

       According to Plumpe’s report, “Standard Cost” makes up most of Energizer’s alleged

COGS: $710,612.41 and $50,077.53 for MIDNIGHT BLACK ICE STORM and BOARDWALK

BREEZE, respectively. Plumpe Report, Tabs 6a and 6b. Plumpe calculated “Standard Cost”

based solely on information given to him by Energizer in a single Excel file, bearing Bates No.

HS0021894 (the “Infringing Products Workbook”). Plumpe Report, Tabs 6a and 6b; Plumpe

Depo. Tr. at 176:13 to 177:25, 179:2-8, 180:6-10; Orbach Decl., Exh M. Plumpe conducted no

independent analysis to confirm the reliability of the data in the Infringing Products Workbook.

       Ryan Sedlak, Energizer’s Senior Director of Finance, admitted that Energizer does not

keep the Infringing Products Workbook in the regular course of business, and that he and a co-

worker, Daniel Jensen, created the Infringing Products Workbook at the request of counsel.

Sedlak Depo. Tr. at 7:19 to 8:16, 19:1-14, 20:22 to 22:9. Sedlak stated that some of the

information in the Infringing Products Workbook was pulled from financial reporting systems at

Energizer, but Sedlak could not specify the type of search or query used to obtain that

information. Id. at 27:6 to 29:15.2 Sedlak admitted none of the information contained in the

Infringing Products Workbook came from audited financial statements. Id. at 162:24 to 163.2.

       Plumpe calculates Energizer’s “Standard Cost” for each of the Infringing Products in the

same way it was calculated in the Infringing Products Workbook that Energizer gave him: by

multiplying the total sales quantity for each Infringing Product (as reported in the Infringing

2
  Likewise, Plumpe does not know what queries were used to pull the information for the
Infringing Products Workbook. Plumpe Depo. Tr. at 82:5-10, 83:20-24, 109:1-4. He apparently
never asked. See id.

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Products Workbook) by the “MPR” number assigned to each Infringing Product in the Infringing

Products Workbook. Sedlak Depo. Tr. at 87:5-15; Plumpe Depo Tr. at 176:13 to 177:25, 179:2-

8, 180:6-10. Not surprisingly, therefore, Plumpe’s calculations of Energizer’s total “Standard

Costs” for the Infringing Products turn out to be virtually identical to the total Standard Costs

claimed in the Infringing Products Workbook – $710,612.41 and $50,077.53 for MIDNIGHT

BLACK ICE STORM and BOARDWALK BREEZE, respectively. Compare Plumpe Report,

Tabs 6a & 6b, with Orbach Decl., Exh. M. “MPR” is a wholly unreliable number, but it is the

sole basis for Plumpe’s calculation of Standard Cost.

       Sedlak testified that “MPR” – or “market performance rating” – is an estimate which

does not record the actual costs of the products that were sold. Sedlak Depo. Tr. at 76:20 to 77:4,

88:3-22. As Sedlak admitted:

        Q.     So the standard cost figures listed in [the Infringing Products
               Workbook] may not be the actual costs associated with the
               products listed in that document, correct?

        A.     That could be, yes.

Sedlak Depo. Tr. at 88:18-22.

       Sedlak stated that any “variances” to these estimates would be “captured in [Energizer’s]

financial statements.” Id. at 88:15-17. However, he admitted that such “variances” would not be

captured “at this level of detail.” Id.3 In any event, Sedlak admitted that the Infringing Products

Workbook was not derived from Energizer’s audited financial statements. Id. at 162:24 to 163:2.


3
  Plumpe admitted at his deposition that he is not an auditor or CPA and “can’t comment on
standard operating procedures for auditing.” Plumpe Depo. Tr. at 14:16-17, 103:10-13. He
asserts in his Rebuttal Report that “I understand that any departures from standard costs, known
as ‘variances’ are not accounted for by Energizer on an item or transaction basis, but are instead
accounted for when the company’s financial statements are prepared. I understand that variances
for the North American Auto Care business have typically been 1-2% of total COGS . . .
.” Plumpe Rebuttal Report, ¶ 33. The only source Plumpe cites for that proposition is a
“[d]iscussion with Ryan Sedlak.” Plumpe Rebuttal Report, ¶ 33 n. 45. When Sedlak was earlier
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       Sedlak could not even enumerate all of the components of the costs included in the

estimated MPR. He could only say generally that, in addition to allegedly “represent[ing]” the

costs charged by third-party manufacturers, MPR included “freight duties,” and also could

include “fixed,” “administrative,” and “overhead” costs which he could not specify. Sedlak

Depo. Tr. at 78:15 to 79:9, 84:11 to 87:4.4

       Despite the dearth of verifiable information about MPR, Plumpe used it to calculate the

Standard Cost for COGS. He simply multiplied the total sales quantity reported in the Infringing

Products Workbook for each Infringing Product by the MPR number listed in the Infringing

Products Workbook for that Infringing Product. Plumpe Report, Tabs 6a and 6b; Plumpe Depo.

Tr. at 176:13 to 177:25, 179:2-8, 180:6-10.

       Plumpe did nothing to verify this information. Like Sedlak, Plumpe testified that the

MPR figures used in the Infringing Products Workbook are supposed to account for Energizer’s

cost of acquiring the Infringing Products from third-party manufacturers, among other things.

Plumpe Depo Tr. at 181:22 to 182:1. Plumpe believes Energizer receives invoices from its third-

party manufacturers, id. at 182:11-17, but there is no indication he ever sought to review those

invoices to determine Energizer’s actual acquisition costs for any of the Infringing Products. All

he did to render his “opinion” about Energizer’s Standard Costs was use the unaudited, ill-




asked at his deposition whether Energizer’s auditors sometimes make changes (i.e., variances) to
the company’s financial reports when preparing Energizer’s audited financial statements, Sedlak
answered that he has no personal knowledge of such matters: “I am not involved in those
conversations. So if that does happen, I’m not aware.” Sedlak Depo. Tr. at 163:25-164:6.
4
  For example, Sedlak could not confirm whether or not the MPR figures in the Infringing
Products Workbook included any costs associated with the relabeling of MIDNIGHT BLACK
ICE STORM products to LIGHTNING BOLT ICE STORM. Sedlak Depo. Tr. at 84:11-18.
Relabeling expenses are not recoverable. W.E. Basset Co. v. Revlon, Inc., 435 F.2d 656, 665 (2d
Cir. 1970).

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defined, unsubstantiated, and admittedly estimated MPR numbers that Energizer provided, and

multiply those figures by the unaudited sales quantities that Energizer also provided.

               b.     Plumpe’s “F&W Costs” Calculation is Equally Dependent on Unreliable
                      Information from Energizer

       “F&W” constitutes the remaining $78,533.54 and $4,991.45 for the MIDNIGHT BLACK

ICE STORM and BOARDWALK BREEZE COGS, respectively. Plumpe Report, Tabs 6a and

6b. Plumpe calculated “F&W” as a fixed 6.93704% of net sales for every sale of Infringing

Products. Plumpe Report, Tabs 6a, 6b & 6c; Plumpe Depo. Tr. at 196:23 to 197:5.

       To derive that 6.93704% figure, Plumpe simply divided two numbers that Energizer gave

him on the “F&W” tab of an Excel file called the “Handstands Accretion Schedule.” See

Plumpe Report, Tab 6c; Plumpe Depo. Exh. 11; Plumpe Depo. Tr. at 189:15 to 190:21, 196:12-

22, 204:4-14. The first number was allegedly Energizer’s total net sales of automotive air

fresheners in the U.S. for the period of October 2016 through June 2017, and the second number

was allegedly Energizer’s total freight and warehouse expenses for automotive air fresheners in

the U.S. for the same time period. See Plumpe Report, Tab 6c. Plumpe merely divided the

second number by the first number to derive the 6.93704% figure that he called “Freight and

Warehouse Expense as a Percent of Net Sales.” Id; see also Plumpe Depo. Tr. 196:23 to 197:14.

       Plumpe made no effort to verify Energizer’s actual freight or warehouse costs for the

Infringing Products. He admitted that, to the extent Energizer uses common carriers and receives

an invoice, it should have those invoices. Plumpe Depo. Tr. at 203:11-17. Sedlak likewise

testified that Energizer would have received “invoices from freight providers.” Sedlak Depo. Tr.

at 96:17. But Plumpe never asked whether Infringing Products were shipped by common carrier,

id. at 203:18 to 204:3, and no such invoices have been produced.




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       What little information Plumpe did gather about Energizer’s F&W operations indicated

that freight costs are not uniform for every sale, undermining his application of a fixed F&W

percentage for every Infringing Products sale. His notes of calls with Energizer representatives

reflect he was told some customers pick up goods at Energizer’s distribution center, while “some

get delivered.” Plumpe Depo. Tr. at 147:2-10. Nevertheless, Plumpe still assessed a fixed

6.93704% for F&W costs for all Infringing Products sales.

       Plumpe also never asked to receive the freight and warehouse expense information

Energizer had for the time period that the Infringing Products were being sold and shipped, i.e.,

December 2016 through June 2017. Plumpe Depo. Tr. at 199:25-200:4. The alleged freight and

warehouse expenses stated in the F&W tab of the Handstands Accretion Schedule include

months (October and November 2016) when, according to Energizer, no Infringing Products

were sold or shipped. See Plumpe Depo. Tr. at 197:15-20, 198:16-18.

       Sedlak created the “F&W” tab of the Handstands Accretion Schedule that Plumpe used.

Sedlak Depo. Tr. at 92:9-15, 94:1-4; Sedlak Depo. Ex. 5. Sedlak admitted that the alleged costs

stated on that sheet are not limited to costs associated with the Infringing Products; they concern

Energizer’s “entire portfolio of auto fragrance products.” Sedlak Depo. Tr. at 95:13-20.

Although Sedlak created the sheet, he does not know how freight and warehouse costs for

Energizer’s automotive fragrance line are calculated. Id. at 97:11-14. He also does not know

what percentage of Energizer’s alleged freight and warehousing expenses represents “freight”

costs as opposed to “warehousing” costs. Id. at 91:4-7. He admitted “I don’t have the detail

breakdown of all the costs that are included in warehousing.” Id. at 91:1-3. He was no clearer

with respect to freight costs:

               Q.      What costs are included in freight…?



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               A.      Freight would include the transportation costs from our distribution center
               to the customer’s distribution center.

               Q.      Would you include any other costs?

               A.      I can’t say for sure.

Id. at 91:8-16. In short, there is simply no verified, reliable clarity to the numbers Plumpe used

to estimate Energizer’s F&W costs for the Infringing Products.

               c.      Plumpe’s COGS Calculations Are Plainly Inadmissible

       The sheer lack of any substantiation, auditing, or verification of the data Plumpe used to

calculate Energizer’s alleged Standard Costs and F&W costs, which together comprise

Energizer’s claimed COGS, is unacceptable. “As the Second Circuit has explained: ‘Ordinarily,

a plaintiff that has proved the amount of infringing sales would be entitled to that amount unless

the defendant adequately proved the amount of costs to be deducted from it . . .’” Coty, Inc., 277

F. Supp. 3d at 465 (citations omitted).

       In Coty, a recent Southern District of New York case, the Court found that a defendant

did not meet its burden with respect to its costs. Specifically, the Court:

               “[d]ecline[d] to rely on [the defendant’s] unaudited P&L
               Statements as reliable proof of costs and deductions”;

               held that the defendant’s “COGS Spreadsheet d[id] not satisfy [its]
               burden of providing costs and deductions” where there was “no
               detail as to what the columns were or how the figures within the
               columns were calculated”; and

               stated the COGS Spreadsheet also was unreliable because the
               defendants “provided neither documentation nor analysis of how
               they were calculated, besides [certain] invoice summaries.”

Id. at 466-67. As a result, the Court awarded the plaintiff the entirety of the defendant’s revenue.

Id. at 467. All of the fatal deficiencies found in the Coty defendant’s proof of its COGS also are




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true of the two unaudited, ill-explained documents on which Plumpe relies to calculate COGS:

the Infringing Products Workbook and the F&W tab of the Handstands Accretion Schedule.

        In fact, the proof of Energizer’s COGS on which Plumpe relies is even more vacant than

the proof in Coty. At least the Coty defendant produced “invoice summaries.” Energizer has not

even produced “invoice summaries” to verify any COGS calculation. As discussed supra, there

should be invoices from Energizer’s third-party manufacturers and freight carriers to substantiate

its alleged COGS. Yet, these invoices have never been produced, and Plumpe apparently has

never asked to review them. See, e.g., Int’l Consulting Servs., 2007 U.S. Dist. LEXIS, at *13-14

(refusing to deduct certain claimed advertising expenses listed as “credit card” expenses on a

defendant’s tax return where the defendant declined to submit credit card statements to

substantiate its claims).

        Plumpe relied solely on the unaudited, ill-explained, and unsubstantiated information in

the Infringing Products Workbook and the F&W tab of the Handstands Accretion Schedule to

render his “expert” opinion of Energizer’s COGS, making his opinion inadequately supported by

admissible, reliable data.   Therefore, his expert testimony is unreliable and irrelevant, and

Daubert and Federal Rule 702 mandate its exclusion. See Ellis, 2006 U.S. Dist. LEXIS, at *29-

30 (citations omitted) (granting a motion to preclude); see, e.g., San Diego Comic Convention v.

Dan Farr Prods., 14-cv-1865 AJB (JMA), 2017 U.S. Dist. LEXIS 147574, *22-23 (S.D. Cal.

Sept. 12, 2017) (granting a motion to preclude the testimony of plaintiff’s damages expert in a

Lanham Act case for failing to provide comprehensive damages model).

        2.      Plumpe’s Opinion of Energizer’s Trade Accruals is Based on Unreliable Data

        Plumpe also seeks to reduce Energizer’s profits in this case by referring to deductions

characterized as “trade accruals.” These “trade accrual” deductions were used to calculate the net

sales figures in the Infringing Products Workbook which Plumpe accepted and relied upon.
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Sedlak Depo. Tr. at 61:24 to 62:25; Plumpe Depo. Tr. at 34:11-22. Here again, Plumpe has relied

on nothing but “data” entered into the Infringing Products Workbook. Id. When pressed to

describe the process by which a certain trade accrual stated in the Infringing Products Workbook

was calculated, Plumpe conceded: “I don’t have a particular process in mind.” Plumpe Depo.

Tr. at 133:15-21. When later asked why different trade accrual percentages were entered in the

Infringing Products Workbook for two sales transactions to the same customer, Plumpe could

only speculate: “There must have been a reason….” Plumpe Depo. Tr. at 138:9-25.

       According to Sedlak, trade accruals (a/k/a “trade allowances”) can include customer

rebates, promotional allowances, and discounts for early payment. Sedlak Depo. Tr. at 17:3-24,

53:23 to 55:3. But he could not specify every type of deduction that may be included in the trade

accruals listed in the Infringing Products Workbook. Id. at 54:24 to 55:33. The Infringing

Products Workbook presents trade accruals as a percent of gross sales for each listed transaction,

but Sedlak could not explain how those trade accrual percentages were calculated. Id. at 54:2-8,

55:17-22, 57:20 to 58:2, 59:24 to 60:2. He could say only generally that trade accruals were

based on customer negotiations and agreements, id. at 56:4-10, none of which have ever been

documented or produced for the trade accruals claimed in the Infringing Products Workbook.

       Plumpe testified that the original source documentation he would expect a company like

Energizer to have in its business records to verify trade accruals could include, inter alia,

contracts, letter agreements and invoices. Plumpe Depo. Tr. at 130:7 to 131:7. But there is no

indication that he ever requested or reviewed any such documentation to investigate Energizer’s

alleged trade accrual deductions. See Plumpe Depo. Tr. at 72:7-24.

       The unaudited, ill-defined trade accrual estimates in the Infringing Products Workbook

are not adequate proof of any actual trade accruals associated with the Infringing Products,



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especially given the availability of underlying documentation (e.g., contracts and invoices) that

could verify them. See Fendi Adele S.R.L., 2010 U.S. Dist. LEXIS at *28 (defendant’s attempt

to use approximations of overhead costs was meritless because they failed to explain why they

did not have such detail, which was “puzzling . . . since presumably defendant [were] required to

maintain at least some of the[] records for tax purposes.”); see also Manhattan Indus. v. Sweater

Bee by Banff, Ltd., 885 F.2d 1, 8 (2d Cir. 1989) (“Estimates should not be used” as proof of costs

unless the defendant “has adequately demonstrated that reliable data are not available”); Coty,

277 F. Supp. 3d. at 467. In this respect as well, Plumpe has issued an opinion that is not

supported by reliable evidence or methodology, and therefore, it should be excluded pursuant to

Federal Rule 702 and Daubert. See Ellis, 2006 U.S. Dist. LEXIS, at *29-30.

       3.      Plumpe’s Opinion of Energizer’s Allocable Operating Expenses is Based on
               Unreliable Data

       Plumpe asserts that Energizer’s operating expenses (i.e., overhead) allocable to the

Infringing Products were $180,799. Plumpe Report, ¶ 59. These consist of “Advertising and

Promotion” (“A&P”) expenses, “Research and Development” (“R&D”) expenses, and “Selling,

General and Administrative” (“SG&A”) expenses. See Plumpe Report, ¶¶ 50-58. Plumpe

calculated these expenses in the same way he calculated F&W costs: as fixed percentages of net

sales, using percentages he derived by dividing numbers provided on the Handstands Accretion

Schedule’s A&P, R&D, and SG&A tabs that Sedlak created for purposes of this litigation.

Plumpe Report, Tabs 7a, 7b, 8a, 8b, 9a, 9b; Plumpe Depo. Exhs. 11 & 12; Sedlak Depo. Exh. 5;

Plumpe Depo. Tr. at 196:12-22, 204:15 to 206:9; Sedlak Depo. Tr. at 92:9-15, 140:12-24.




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Plumpe merely acts as a calculator for inadmissible numbers provided by Energizer; he does not

perform any analysis to verify the numbers or their nexus to the Infringing Products.5

       The expenses alleged in the A&P, R&D, and SG&A tabs of the Handstands Accretion

Schedule are not limited to the Infringing Products, or even to Energizer’s automotive air

freshener lines.   They cover all of Energizer’s automotive products, including, inter alia,

appearance chemical products sold under the “Eagle One” and “Lexol” brands. Sedlak Depo. Tr.

at 118:18 to 119:12; Plumpe Depo. Tr. 220:7-221:10. In addition, they cover global expenses

(with the possible exception of A&P). Id. at 119:25 to 120:4, 149:1 to 151:25. Further, the

Handstands Accretion Schedule covers a period of time (October 2016 through June 2017)

greater than the period during which the sales of the Infringing Products occurred. Id. at 119:13-

24. Sedlak admitted that he did not know if there was any R&D conducted with respect to the

Infringing Products during that time period. Sedlak Depo. Tr. at 143:3-14.

       These deficiencies make it impossible to conclude whether there is a sufficient nexus

between the claimed operating expenses and sales of the Infringing Products. “Every infringer

shoulders the burden of demonstrating a sufficient nexus between each expense claimed and the

sales of the unlawful goods, and likewise, has the burden of offering a fair and acceptable

formula for allocating a given portion of overhead to the particular infringing items in issue.”

River Light V, L.P. v. Lin & J Int’l, Inc., 2015 U.S. Dist. LEXIS 82940, *20 (S.D.N.Y. June 25,

2015) (internal quotations omitted) (citing Hamil Am., Inc. v. GFI, Inc., 193 F.3d 91, 107 (2d

Cir. 1999)); see, e.g., Fendi Adele S.R.L., 642 F. Supp. 2d at 293 (finding the defendant did not

5
  Plumpe failed to seek out confirming documentation which he believes to exist. Plumpe
testified that detailed information about Energizer’s alleged A&P expenses could be examined
by going “invoice by invoice,” and that he would expect Energizer to have invoices for its
alleged A&P expenses “because Pricewaterhouse Coopers would want to see that as part of their
audit process.” Plumpe Depo. Tr. at 52:1 to 53:7; see also Plumpe Depo. Tr. at 57:1-10. But
there is no indication he ever sought out any such invoices.

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meet its burden of the required proof of deductible expenses because it did “not demonstrate that

the specific identified expense categories directly contributed to the sale of Fendi-branded goods

and [did] not establish the amount of costs attributable to any such category.”); see also

Manhattan Indus., 885 F.2d at 8.

       Indeed, all of the expenses claimed in the A&P, R&D, and SG&A tabs of the Handstands

Accretion Schedule on which Plumpe relied could relate to automotive cleaning spray, and there

would be no way to filter that information. Plumpe has not conducted any reliable analysis to

connect the specific operating expenses included in his calculations to the sale of the Infringing

Products. See Plumpe Depo. Tr. at 227:5 to 230:20. This nexus objectively does not exist for

untold amounts of the operating expenses included in Plumpe’s report because: (1) the

Handstands Accretion Schedule he relied on covers all automotive products related to

Handstands, including not only non-infringing air freshener products, but also non-air freshener

products; (2) the data he relied on spans a time period greater than when the Infringing Products

were sold; and (3) the R&D and SG&A expenses include global expenses, not just expenses

associated with domestic sales. Sedlak Depo. Tr. at 118.18 to 120:4.

       4.      Plumpe Fails to Account for Energizer’s Vanishing Sales

       Plumpe also fails to account for sales to which Energizer previously admitted.

Documentary evidence and Rule 30(b)(6) testimony produced by Energizer indicates that total

net sales of the Infringing BLACK ICE and BOARDWALK BREEZE Products in the United

States equaled $1,215,539 and $75,687, respectively. Lampman Depo. Tr. at 82:11-19, 85:16-

25, 88:10-13, 165:22 to 166:11; Lampman Depo. Exhs. 10 & 20. Yet, the Infringing Products

Workbook indicates total net sales of the Infringing BLACK ICE and BOARDWALK BREEZE

Products were $1,132,091 and $71,954, respectively. See Infringing Products Workbook, “MB-



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IS Summary” and “BB Summary” tabs. Plumpe adopts these lower net sales figures, citing the

Infringing Products Workbook as his only source. Plumpe Report, Tabs 5a & 5e.

       A small portion of the discrepancy is due to Energizer’s belated position that it should not

be held accountable for sales of the Infringing Products to AutoZone Mexico, even though

Energizer previously identified those sales as U.S. sales, see Lampman Depo. Exhs. 10 & 20,

and its 30(b)(6) witness, Lampman, admitted that Energizer delivered the Infringing Products to

that entity inside the United States. Lampman Depo. Tr. at 107:4-15. The remainder – and

majority – of the discrepancy, however, cannot be explained by Sedlak or Plumpe. Plumpe

Depo. Tr. at 161:22 to 163:11, 167:22 to 168:7; Sedlak Depo. Tr. at 68:1 to 75:10. This

unexplained discrepancy casts further doubt on the data in the Infringing Products Workbook.

Plumpe, apparently nonplussed by this unexplained discrepancy, simply adopts the net sales

figures from the Infringing Products Workbook.6

       The unreliable nature of the Infringing Products Workbook is exacerbated by the fact it is

not supported by back-up documentation, which should exist. Defendants would have issued

invoices to their customers for each of the transactions listed in the Infringing Products

Workbook. Sedlak Depo. Tr. at 44:3-10; Plumpe Depo. Tr. at 116:14 to 118:1, 120:18-23,

123:19 to 124:4, 126:11-16. Sedlak admitted Energizer has copies of at least some of those

invoices,7 id. at 44:14 to 45:13, but none have been produced, and Plumpe apparently has never

seen them or inquired as to how or where they are kept, see id. at 117:6-9, 119:10-17.       There

6
 In his post-deposition rebuttal report, Plumpe states that “Lampman Deposition Exhibits 10 . . .
and 20 . . . may include sales after the allegedly infringing products stopped shipping . . .”
Plumpe Rebuttal Report, n. 16 (emphasis added). That vague and equivocal statement, for which
Plumpe cites no source, is hardly a reliable resolution of the discrepancy.
7
  Energizer should have all such invoices. Plaintiffs commenced this action in February 2017,
just one or two months after Defendants claim to have commenced sales of the Infringing
Products. Orbach Decl., ¶ 3. Thus, Energizer was on notice of its duty to preserve all records of
its sales and alleged costs associated with the Infringing Products shortly after sales began.

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were also customer purchase orders for the transactions listed in the Infringing Products

Workbook, and Plumpe “believe[s] [Defendants] keep them for their auditors to test.” Plumpe

Depo. Tr. at 112:14-113:12, 114:8 to 115:17. But he apparently never sought to review those

either. Id. at 114:8 to 115:17. In this way as well, Plumpe has rendered an unreliable opinion,

failed to confirm any of the data he received, and failed to engage in any true expert analysis, as

further discussed below.

D.     Plumpe’s Expert Report and Testimony Do Not Proffer Specialized Knowledge

       “While an expert may of course rely on facts or data in formulating an expert opinion, . . .

an expert cannot be presented to the jury solely for the purpose of constructing a factual narrative

based on record evidence.” Beede v. Stiefel Labs., Inc., 2016 U.S. Dist. LEXIS 28304, *81

(N.D.N.Y. March 7, 2016) (citations omitted); see also SLSJ, LLC v. Kleban, 277 F. Supp. 3d

258, 280 (D. Conn. 2017) (holding an “expert may not simply recite the factual narrative from

one party’s perspective, granting it credibility, when he has no personal knowledge of the facts

addressed.”). “Acting simply as a narrator of the facts does not convey opinions based on an

expert’s knowledge and expertise; nor is such narration traceable to a reliable methodology.”

Luitpold Pharms., Inc. v. ED. Geistlich Sohne A.G. Fur Chemische Industrie, 2015 U.S. Dist.

LEXIS 123591, *8 (S.D.N.Y. Sept. 16, 2015); see also Member Servs., 2010 U.S. Dist. LEXIS,

at *89. “Mere narration thus fails to fulfill Daubert’s most basic requirements.” Luitpold

Pharms, 2015 U.S. Dist. LEXIS, at *8. “In addition, narration of facts of the case may easily

evade the province of the jury, providing a separate basis for exclusion.” See Luitpold Pharms.,

Inc., 2015 U.S. Dist. LEXIS, at *8; see also Member Servs., 2010 U.S. Dist. LEXIS, at *89.

       As discussed at length, supra, Plumpe does not use any specialized knowledge to

generate his opinion in this Action. Rather, he acts as a mouthpiece for Energizer’s unreliable

and self-serving data without performing any independent analysis or verification thereon. He
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provides the same calculations that Energizer has set forth itself in an Excel sheet, thereby

providing an expert gloss on Defendants’ own unreliable material – nothing more, nothing less.

Thus, Federal Rule 702 requires his exclusion. See, e.g., Matthews v. Hewlett-Packard Co.,

2017 U.S. Dist. LEXIS 214075, *10 (S.D.N.Y. Dec. 22, 2017) (finding an expert report’s “bald

repetition of Plaintiff’s beliefs as to the cause of his condition simply does not reflect

methodology reliant upon [the expert’s] specialized knowledge or experience, and thus, cannot

be considered reliable.”)

                                             POINT II

                  PLUMPE’S TESTIMONY REGARDING
      APPORTIONMENT OF ENERGIZER’S PROFITS SHOULD BE EXCLUDED

       In addition to opining about Energizer’s supposed costs, Plumpe attempts to apportion

the profits associated with the Infringing BLACK ICE Products to “those profits attributable to

the alleged wrongful actions.”8 Plumpe Report, ¶¶ 62-71; Plumpe Rebuttal Report, ¶¶ 60-82.

Plumpe does not offer any apportionment analysis with respect to the Infringing BOARDWALK

BREEZE Product. Plumpe Depo. Tr. at 47:3-6.

       Plumpe supposedly seeks to arrive at the appropriate level of profit apportionment by

utilizing “a comparative income method referred to as the ‘excess earnings’ or ‘comparative

income differential method’” (the “Excess Earnings Method”).            Plumpe Report, ¶¶ 67-69.

Plumpe purports to conduct such an apportionment analysis by comparing the gross profits

8
  Although it is not an issue ripe for the Court to decide on this Motion, Plaintiffs contend that
Energizer – as a willful infringer – will ultimately be barred as a matter of law from seeking a
reduction, based on any theory of apportionment, of the profits it must disgorge. See W.E.
Basset, 435 F.2d at 659 (stating “[i]t is essential to deter companies from willfully infringing a
competitor’s mark, and the only way the courts can fashion a strong enough deterrent is to see to
it that a company found guilty of willful infringement shall lose all its profits from its use of the
infringing mark.”). Regardless, assuming arguendo Energizer would be permitted to proffer
competent proof of apportionment at trial, Plumpe’s opinion with regard to apportionment is
inadmissible.

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Energizer allegedly recognized from sales of certain MIDNIGHT BLACK ICE STORM

products with the gross profits Energizer allegedly recognized from subsequent sales of certain

replacement products labeled LIGHTNING BOLT ICE STORM. Id., ¶ 70. According to

Plumpe’s initial report, this analysis indicates that Energizer’s air fresheners named MIDNIGHT

BLACK ICE STORM “earned profits in excess of what they would have earned if instead they

were named [LIGHTNING BOLT ICE STORM] of $84,400.” Id. For the reasons set forth

below, Plumpe’s report and testimony regarding apportionment should be excluded.

A.     Plumpe’s Apportionment Analysis Rests on Unreliable Data and Methodology

       In addition to resting on reliable data, Ellis, 2006 U.S. Dist. LEXIS at *29-30, an expert’s

opinion must reliably apply appropriate methodology, FED. R. EVID. 702.                  Plumpe’s

apportionment analysis uses neither.

       1.      Plumpe’s Apportionment Analysis Uses Unreliable Data

       For the reasons discussed in I-C, supra, Plumpe’s apportionment analysis is unreliable

because the gross profits figures he uses for MIDNIGHT BLACK ICE STORM are based

exclusively on the unreliable data from the Infringing Products Workbook. See Plumpe Report,

¶ 69, n. 153. As discussed below, the LIGHTNING BOLT ICE STORM data Plumpe uses for

his apportionment analysis is no better.

       Plumpe’s report indicates that the LIGHTNING BOLT ICE STORM data he used for his

apportionment analysis came from an Excel file titled “Sales Data Lightning Bolt_Ice Storm_7-

1-17 to 4-10-18.xlsx” (the “LBIS Workbook”). Plumpe Report, ¶ 69 & Tab 3b. Defendants

produced the LBIS Workbook as Bates No. HS0021899. Plumpe Depo. Tr. at 231:12-17. Like

the Infringing Products Workbook, Sedlak testified that the LBIS Workbook was created by him

and Mr. Jensen, at the request of Energizer’s counsel, for purposes of this litigation. Sedlak

Depo. Tr. 120:15-23, 123:6-11.

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       The LBIS Workbook is just as unreliable as the Infringing Products Workbook. For

example, the LBIS Workbook, like the Infringing Products Workbook, claims various amounts

for “Trade Accruals.” Orbach Decl., Exh. I. But as with the Infringing Products Workbook,

Sedlak testified that he could not specify what types of costs are included in the trade accrual

amounts claimed in the LBIS Workbook. Sedlak Depo. Tr. 128:24-129:5. Similarly, the LBIS

Workbook, like the Infringing Products Workbook, claims “COGS,” but does not itself include

any explanation or backup documentation to support those alleged “COGS.” Orbach Decl.,

Exh. I. Sedlak testified the “COGS” claimed in the LBIS Workbook were the same types of

“standard costs” alleged in the Infringing Products Workbook. Sedlak Depo. Tr. at 129:22-

130:5. As with the Infringing Products Workbook, Sedlak could not specify what types of costs

are included in those figures for any of the sales transactions listed in the LBIS Workbook. Id. at

130:22 to 131:5. As Sedlak admitted, he does not have that information at the “customer and

item level detail.”   Id.   And he could not say what, if any, records Defendants have to

substantiate the COGS claimed in the LBIS Workbook. Id. at 134:11-15. In addition, the LBIS

Workbook claims “Freight & Warehouse” costs were 7% of sales. Orbach Decl., Exh. I; Sedlak

Depo. Tr. at 124:23-125:1. But when asked how that 7% figure was calculated, Sedlak testified:

“My assumption is that it came from me. I just don’t recall how I calculated it.” Sedlak Depo.

Tr. at 125: 2-6. The LBIS Workbook also contains two untitled columns with information that

Sedlak could not explain whatsoever. Sedlak Depo. Tr. 131:6-16. And, as with the Infringing

Products Workbook, Sedlak admitted that the data contained in the LBIS Workbook does not

come from audited financial statements. Sedlak Depo. Tr. at 163:3-6.

       Sedlak testified that Energizer would have invoices to substantiate its sales of

LIGHTNING BOLT ICE STORM. Sedlak Depo. Tr. at 132:2-6. But such invoices have never



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been produced, and there is no indication Plumpe ever sought to review them. Furthermore,

Plumpe did nothing to confirm that the data listed in the LBIS Workbook was limited to U.S.

sales. He believes it includes sales for “other geographies.” Plumpe Depo. Tr. at 231:18-25.

       Moreover, the LBIS Workbook may have included some miscoded MIDNIGHT BLACK

ICE STORM sales – meaning that, to some extent, Plumpe’s purported “excess earnings”

comparison of MIDNIGHT BLACK ICE STORM profits and LIGHTNING BOLT ICE STORM

profits actually may have been comparing MIDNIGHT BLACK ICE STORM profits to other

MIDNIGHT BLACK ICE STORM profits. Plumpe admitted that he believed four transactions

in the LBIS Workbook were in fact miscoded sales of MIDNIGHT BLACK ICE STORM; he

states that he excluded those four transactions from his “excess earnings” analysis, but he

conducted no independent investigation (apart from taking Energizer’s word for it) to ensure that

the LBIS Workbook contained no other such miscoded MIDNIGHT BLACK ICE STORM sales.

Plumpe Depo. Tr. at 88:16-92:5. Sedlak admitted that he “can’t be certain” that no sales of

MIDNIGHT BLACK ICE STORM products miscoded as sales of LIGHTNING BOLT ICE

STORM products are contained in the LBIS Workbook. Sedlak Depo. Tr. at 123:20-24.9

       In short, the two data sets on which Plumpe based his apportionment analysis – the LBIS

Workbook and the Infringing Products Workbook – both are unreliable proof of the Energizer

profits that Plumpe purports to compare. See Coty, Inc., 277 F. Supp. 3d at 466 (“declin[ing] to




9
 The confusion may arise, at least in part, because the item description coded in Defendants’
reporting systems for some MIDNIGHT BLACK ICE STORM products changed to
“LIGHTNING BOLT ICE STORM” before the actual product labels changed. Sedlak Depo. Tr.
at 32:4-10. Sedlak could not identify which specific MIDNIGHT BLACK ICE STORM products
were miscoded in this way. Id. at 32:11-13. But he admitted that this miscoding “potentially”
resulted in certain U.S. sales of MIDNIGHT BLACK ICE STORM being miscoded in
Defendants’ reporting systems as sales of LIGHTNING BOLT ICE STORM. Id. at 30:12-20.

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rely on . . . unaudited P&L Statements as reliable proof of costs and deductions.”). They cannot

form a basis for any admissible expert opinion, for the reasons discussed in I-C, supra.

        2.     The Excess Earnings Method is Not Acceptable, Reliable, or Even Relevant

               a.     No Reported Decision Accepts an “Excess Earnings Method” to
                      Apportion Profits in a Lanham Act Case

        Plumpe’s Excess Earnings Method does not appear to have been accepted as a method to

apportion a defendant’s profits in any reported Lanham Act case.10             To the extent the

methodology has been accepted at all by the courts, it has been in an entirely different context –

mainly, as a method to calculate the value of goodwill associated with a professional practice.

For example, one court noted that the method was “more suited to a professional practice than a

commercial business, and thus, will not be further discussed,” indicating that the method is even

limited within the niche of goodwill accounting.               Experience Hendrix, L.L.C. v.

HendrixLicensing.com, Ltd., 2011 U.S. Dist. LEXIS 107083 (W.D. Wash. Sept. 21, 2011).

               b.     Not Even Plumpe Claims to Know What Energizer’s Apportion-able
                      Profits Were under His “Excess Earnings” Method

        Even if the Court were to accept generally the Excess Earnings Method as an appropriate

methodology to apply in a Lanham Act case, Plumpe himself equivocates regarding its import

here.   In his report, Plumpe concludes that the Excess Earnings Method indicates that

Defendants’ air fresheners named MIDNIGHT BLACK ICE STORM “earned profits in excess

of what they would have earned if instead they were named [LIGHTNING BOLT ICE STORM]




10
  Plumpe asserts that there are Lanham Act cases where this methodology has been applied, but
the two cases he identifies are sealed on Pacer, so his position cannot be verified. Plumpe Depo.
Tr. at 216:5 to 219:4. He does not believe that he has ever testified about an excess earnings
methodology as an expert in a Lanham Act case. Id. at 219:5-11. He is “not sure” if he has ever
testified about an excess earnings methodology in any case. Id. at 214:20 to 215:1.

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of $84,400.” Plumpe Report, ¶ 70.11 At his deposition, however, Plumpe stated that the amount

of profit earned by Energizer attributable to use of the names of MIDNIGHT BLACK and ICE

STORM together was “no more than” that amount, Plumpe Depo. Tr. at 45:9-45:18, and that, in

fact, he has reached no conclusion as to what that amount actually is, id. at 45:23-45:25. Thus,

even Plumpe cannot make a dispositive statement that his method yields any relevant conclusion,

and for that reason as well, his testimony should be excluded. See Zaremba, 360 F.3d at 358 (an

expert’s testimony must rest on a reliable foundation and be relevant to the task at hand).

               c.         Even if an Excess Earnings Method Were Theoretically Applicable in This
                          Case, Plumpe Has Not Reliably Applied the Method Here

       As elucidated by Dr. Jeffrey A. Stec, Ph.D., it is not possible to conduct a

methodologically reliable apportionment analysis by comparing data about MIDNIGHT BLACK

ICE STORM sales with data about LIGHTNING BOLT ICE STORM sales in the manner

performed by Mr. Plumpe, even if the data itself was reliable (which in this case it was not, for

reasons already discussed). See Declaration of Jeffrey Stec, Ph.D., dated November 2, 2018

(“Stec. Decl.”), ¶¶ 19-27. Energizer’s LIGHTNING BOLT ICE STORM products supplanted

the MIDNIGHT BLACK ICE STORM products in the marketplace, and thus there is a lack of

independence between the sales of MIDNIGHT BLACK ICE STORM and LIGHTNING BOLT

ICE STORM.          Id.    That lack of independence irreparably contaminates Mr. Plumpe’s

apportionment methodology; he does not and cannot account for it. Id.

       In sum, Plumpe’s Excess Earnings Method is based on unreliable data, has not been

generally accepted in Lanham Act cases, is flawed methodologically, and will not aid the

factfinder because even Plumpe himself draws no dispositive conclusion from his analysis as to


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  The Plumpe Rebuttal Report suggests this number is closer to $80,000. Plumpe Rebuttal
Report, ¶ 76.

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what the appropriate amount of “apportionment” might be. For each of these reasons, Daubert

and Federal Rule 702 mandate its exclusion. See Ellis, 2006 U.S. Dist. LEXIS 7164, *29-30.

B.     Plumpe Has Neither the Specialized Knowledge Nor Experience Required to Opine
       on Apportionment

       “‘[W]hile experience can provide the basis to qualify a witness as an expert, the

experience must be demonstrated and have direct relevance to the issues in the case.’” E.g.,

Krause v. CSX Transp., 984 F. Supp. 2d 62, 79 (N.D.N.Y. 2013) (citations omitted) (alterations

in original) (granting a motion to preclude where there was “nothing in [the expert’s] report to

support a finding that he [was] qualified to give opinions” on certain report topics).

       Plumpe has no professional experience in the selling, marketing, or production of

automotive air fresheners. Plumpe Depo. Tr., at 225:15-12. Indeed, Plumpe has never been

engaged in the selling, marketing, or production of any kind of consumer packaged goods. Id. at

226:25-227:24. Yet, Plumpe includes in the Plumpe Report and the Plumpe Rebuttal Report a

list of ten factors12 that allegedly may have contributed to the “sales and profits” of the Infringing

Products, other than their infringing names. Plumpe Report, ¶ 63; Plumpe Rebuttal Report, ¶ 61.

       Plumpe’s recitation of these purported factors, however, is based entirely on self-serving

materials and statements provided by Energizer, not on Plumpe’s own expertise. See Plumpe

Report, ns. 140-150. As noted above, he does not have any experience in this area.




12
   The ten factors allegedly are: “Energizer’s . . . relationships with retailer and distributor
customers,” “role as the Category Captain/Advisor at major retailers,” “share of shelf at key
retailers,” “execution on bringing . . . products to market quickly,” “in-house fragrance
development capabilities” and “relationships with . . . fragrance houses,” “commitment to
innovation,” “variety of product formats,” “innovation in dual fragrance[s],” and “product
aesthetics, packaging and design,” along with the “quality and reputation of and value associated
with the Refresh Your Car! brand.” Plumpe Report, ¶ 63; Rebuttal Plumpe Report, ¶ 61.

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       Incredibly, a document Plumpe cites for one of the factors (“Energizer’s innovation in

dual fragrance products”) is actually an email exchange where Chris Anderson, then the CEO of

Handstands, signaled his intent to trade upon Plaintiffs’ BLACK ICE trademark:

               If we really wanted to have some fun, we could also look at a dual
               with a Black Ice variant – along the lines of Midnight Black / Ice
               Storm.

Orbach Decl., Exh. P, cited in Plumpe Report, n. 148.

       Furthermore, Plumpe merely lists these factors, never incorporating them into his

analysis or connecting them to his calculations. See Plumpe Report, ¶¶ 68-70. Thus, Plumpe

implicitly admits that these factors are not relevant to his apportionment analysis; they merely

serve to provide an expert gloss on Energizer’s desired factual narrative. Daubert and Federal

Rule 702 do not permit an expert to provide a gloss on a party’s factual narrative without

applying any relevant or reliable expertise. See Luitpold Pharms., Inc., 2015 U.S. Dist. LEXIS,

at *8 (noting that “[a]cting simply as a narrator of the facts does not convey opinions based on an

expert’s knowledge and expertise[.]”); Beede, 2016 U.S. Dist. LEXIS, at *81 (“an expert cannot

be presented to the jury solely for the purpose of constructing a factual narrative[.]”); SLSJ, LLC,

277 F. Supp. 3d at 280 (asserting an “expert may not simply recite the factual narrative from one

party’s perspective, granting it credibility, when he has no personal knowledge of the facts

addressed.”); see also Member Servs., 2010 U.S. Dist. LEXIS, at *89. Plumpe’s testimony on

apportionment must be excluded for this reason as well.

                                         CONCLUSION

       Plaintiffs respectfully request that the Court preclude Defendants from offering the

Plumpe Report, the Plumpe Rebuttal Report, or any testimony by Plumpe in this Action.




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Dated: November 2, 2018           BOND SCHO         K &KING, PLLC


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